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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

ZURICH AMERICAN              )
INSURANCE COMPANY,           )
                             )
              Plaintiff,     )
                             )
v.                           )
                             )                  Case No.: 1:22-cv-04377-JPB
PATRIOT MODULAR, LLC and     )
ELDECO PIPE AND FABRICATION, )
LLC,                         )
                             )
              Defendants.    )
                             )

                  DECLARATION OF KENAN G. LOOMIS

                                         1.

      My name is Kenan G. Loomis and I an attorney with the law firm of Cozen

O’Connor.

                                         2.

      I am over the age of twenty-one (21) years, and fully competent to testify to

all matters stated herein which are made upon my personal knowledge.

                                         3.

      I am an attorney in good standing representing Zurich American Insurance

Company (“Zurich”) in this lawsuit.
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                                           4.

      I submit this Affidavit in support of Plaintiff’s Motion for Service by

Publication upon Defendant Patriot Modular, LLC (“Patriot”).

                                           5.

      Plaintiff’s Motion for Service by Publication should be granted because,

despite Plaintiff’s diligent efforts, Plaintiff has been unable to locate and serve the

Summons and Complaint upon Patriot or any of its members, officers, or agents.

                                           6.

      Upon information and belief, Patriot is a limited liability company organized

under the laws of the State of Texas, with a principal place of business located at

120 Bearle Street, Pasadena, Texas, 77506.

                                           7.

      According to the Georgia Secretary of State’s Corporations Division, Patriot’s

Registered Agent, Justin Kreft, was authorized to accept service on behalf of Patriot

at 1018 Highway 80 West, Suite 508, Pooler, Georgia, 31322.

                                           8.

      As set forth in the Affidavit of Non-Service of Glenn Christian, sworn to

December 20, 2022, [ECF-9] Plaintiff’s process server attempted to serve Patriot on

November 8, 2022, at its Registered Agent’s address, but the location was being

occupied by Badcock Storage. According to representatives of Badcock Storage,


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Patriot’s Registered Agent moved out approximately three years prior and left no

forwarding address.

                                           9.

      Due to Plaintiff’s inability to serve Patriot via its Registered Agent in Georgia,

on November 11, 2022, counsel for Zurich ran an internal skip trace search for

Patriot, which provided a second Registered Agent for Patriot, Justin Kreft at 120

Bearle Street, Pasadena, Texas 77506.

                                           10.

      Plaintiff’s process server subsequently attempted to serve Patriot at its

principal place of business at 120 Bearle Street, Pasadena, Texas, 77506. As set forth

in the Affidavit of Non-Service of Charles R. Black, sworn to December 22, 2022,

[ECF-10] Plaintiff’s process server attempted to serve Patriot on December 8, 2022,

at 120 Bearle Street, Pasadena, Texas, 77506, but the business had closed down.

                                           11.

      Plaintiff then contacted counsel for Patriot in the litigation styled IHI E&C

International Corporation v. Robinson Mechanical Contractors, Inc. d/b/a Robinson

Construction Company and Fidelity and Deposit Company of Maryland, Civil

Action No. 1:19-cv-04137-JPB, United States District Court, Northern District of

Georgia (the “Underlying Lawsuit”), Michael P. DiOrio with the law firm Lewis,

Brisbois, Bisgaard & Smith, LLP. Plaintiff requested that Mr. DiOrio accept service


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of the Summons and Complaint on behalf of Patriot, but Mr. DiOrio advised he had

not been retained to represent Patriot in any matters other than Underlying Lawsuit

and, therefore, was not authorized to accept service in this action.

                                           12.

       Counsel for Patriot in the Underlying Lawsuit advised Plaintiff to contact

Patriot’s insurance coverage counsel, Ben Perkins with the law firm Oliver Maner,

LLP.

                                           13.

       On January 25, 2023, Plaintiff served Mr. Perkins with a Notice of Lawsuit,

Request to Waive Service of a Summons, Waiver of Service of Summons form, and

a copy of the Summons and Complaint for this action. (Letter to Ben Perkins, dated

January 25, 2023, attached hereto as Exhibit “1”).

                                           14.

       Having received no response to its Request to Waive Service of a Summons

within the provided thirty-day period, Plaintiff sent an email to Mr. Perkins on

February 14, 2023, reiterating its request that Mr. Perkins accept service of the

Summons and Complaint on behalf of Patriot.

                                           15.

       On February 22, 2023, Mr. Perkins responded to Plaintiff’s email, advising

that he had only been retained to represent Patriot in connection with “the Indian


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Harbor case,” and was not authorized to accept service on behalf of Patriot in this

case. Mr. Perkins advised he did not know the identity of Patriot’s current Registered

Agent, if any. (See emails between Ben Perkins and Luciana Aquino, attached hereto

as Exhibit “2”).

                                              16.

         Per the records of the Georgia Secretary of State, Corporations Division,

Defendant Patriot was involuntarily or administratively dissolved or its certificate of

authority was revoked by the Office of the Secretary of State on August 26, 2019.

See Exhibit “3.”

                                              17.

         This case is an action for declaratory judgment pursuant to 28 U.S.C. § 2202

to determine and resolve questions of actual controversy involving a Commercial

General Liability policy issued by Zurich to Defendant Eldeco Pipe and Fabrication,

LLC (“Eldeco”).1 Eldeco was sued by Patriot via a Fourth-Party Complaint, seeking

indemnification for the claims asserted against Patriot in that case styled IHI E& C

International Corporation v. Robinson Mechanical Contractors, Inc. d/b/a Robinson

Construction Company and Fidelity Deposit Company of Maryland, Civil Action

No. 1:19-cv-04137-JPB, United States District Court, Northern District of Georgia

(the “Underlying Lawsuit”). Questions of actual controversy exist as to whether


1
    The Policy is in the record at ECF-1-1.
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coverage is afforded to Eldeco and Patriot for the claims asserted against them in the

Underlying Lawsuit. Patriot is a necessary party to this declaratory judgment action

due to the Fourth Party Complaint it filed against Eldeco because Patriot will be

bound by the stare decisis effect of any coverage determinations made by this Court.

See Am. Safety Cas. Ins. Co. v. Condor Assocs., Ltd., 129 F.App’x 540, 542 (11th

Cir. 2005); Owners Ins. Co v. Bryant, No. Civ.A. 305CV48CAR, 2006 WL 50488,

at * 3 (M.D. Ga. Jan. 9, 2006). Thus, Zurich has a claim against Patriot.

FURTHER AFFIANT SAYETH NOT. I DECLARE, PURSUANT TO THE

PROVISIONS OF 28 U.S.C. § 1746 AND UNDER PENALTY OF PERJURY,

THAT THE FOREGOING IS TRUE AND CORRECT.

      DATED: March 3, 2023.


                                              /s/ Kenan G. Loomis
                                              Kenan G. Loomis
                                              COZEN O’CONNOR
                                              Attorney for Plaintiff Zurich
                                              American Insurance Company




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Aquino, Luciana

From:                               Ben Perkins <bperkins@olivermaner.com>
Sent:                               Wednesday, February 22, 2023 6:39 PM
To:                                 Aquino, Luciana
Cc:                                 Loomis, Kenan; Ingram, Christine
Subject:                            RE: Waiver of Service Zurich v. Patriot Modular, et al.



**EXTERNAL SENDER**

Lucy,
I do not know. I will let you know if I find the answer.

Ben Perkins
Oliver Maner LLP
912-238-2515 (direct dial)

From: Aquino, Luciana <LAquino@cozen.com>
Sent: Wednesday, February 22, 2023 3:59 PM
To: Ben Perkins <bperkins@olivermaner.com>
Cc: Loomis, Kenan <kloomis@cozen.com>; Ingram, Christine <CIngram@cozen.com>
Subject: RE: Waiver of Service Zurich v. Patriot Modular, et al.

Mr. Perkins,

Thank you for your email. Do you know who is Patriot’s current Registered Agent? We have attempted to serve the
Registered Agent on file with the Texas Secretary of State, Mr. Justin Kreft, but have been advised that he is no longer
the registered agent for Patriot.

Thank you,

                        Lucy Aquino
                        Associate Attorney | Cozen O'Connor
                        The Promenade, 1230 Peachtree Street NE Suite 400 | Atlanta, GA 30309
                        P: 404-572-2086
                        Email || Map | cozen.com




From: Ben Perkins <bperkins@olivermaner.com>
Sent: Wednesday, February 22, 2023 3:33 PM
To: Aquino, Luciana <LAquino@cozen.com>
Cc: Loomis, Kenan <kloomis@cozen.com>; Ingram, Christine <CIngram@cozen.com>
Subject: RE: Waiver of Service Zurich v. Patriot Modular, et al.

**EXTERNAL SENDER**

Ms. Aquino,
I haven't been retained to represent Patriot in any matters other than the Indian Harbor case and thus have not been
authorized to accept service generally for Patriot.
Best regards,

                                                                  1
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Ben

Ben Perkins
Oliver Maner LLP
912-238-2515 (direct dial)

From: Aquino, Luciana <LAquino@cozen.com>
Sent: Tuesday, February 14, 2023 1:56 PM
To: Ben Perkins <bperkins@olivermaner.com>
Cc: Loomis, Kenan <kloomis@cozen.com>; Ingram, Christine <CIngram@cozen.com>
Subject: Waiver of Service Zurich v. Patriot Modular, et al.

Mr. Perkins,

I just left a voice message but wanted to email as well. As you know, Zurich American Insurance Company has filed a
declaratory judgment action against Patriot Modular, LLC in the United States District Court for the Northern District of
Georgia. It is our understanding that you have been retained to represent Patriot Modular with respect to this action.

In order avoid service costs, I have attached Plaintiff’s Complaint for Declaratory Judgment, a Summons directed to
Patriot Modular, as well as a copy of the Waiver of Service of Summons for the above-referenced matter. I would ask
that you please sign the Waiver of Service of Summons and return it to me within the next ten days. Should we not
received the executed Waiver of Service, we will assume that you are not willing to waive service and will proceed with
efforts to formally serve Patriot Modular. Please be advised that if we are forced to serve Patriot Modular through
formal methods, we will ask that the court award us costs for doing so.

Thank you for your attention to this matter. Should you wish to discuss this matter further, please feel free to contact
me.



                       Lucy Aquino
                       Associate Attorney | Cozen O'Connor
                       The Promenade, 1230 Peachtree Street NE Suite 400 | Atlanta, GA 30309
                       P: 404-572-2086
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    EXHIBIT 3
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